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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS


KENNISHA CHATMAN,                               ) Case No.: 3:16-cv-00356
                                                )
               Plaintiff,                       )
       vs.                                      )
                                                ) NOTICE OF DISMISSAL WITH
CBSA COLLECTIONS,                               ) PREJUDICE
                                                )
               Defendant.                       )
                                                )
                                                )


       COMES NOW Plaintiff Kennisha Chatman, by and through her attorney of record,

seeking dismissal WITH prejudice of the entire action. Pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A), Plaintiff requests this Court dismiss the action with prejudice.


Dated this 17th day of March 2017.

                                             Respectfully Submitted,


                                             _s/ Daniel Zemel___________
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